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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 DANIEL SMORYNSKI,
                                                   Criminal Case No. 09-20213-2
               Movant,                             Civil Case No. 14-13181
 v.
                                                   SENIOR U.S. DISTRICT JUDGE
 UNITED STATES OF AMERICA,                         ARTHUR J. TARNOW

               Respondent.
                                         /

      ORDER DENYING MOVANT’S MOTION TO VACATE, SET ASIDE, OR CORRECT
       SENTENCE [246]; DENYING MOVANT A CERTIFICATE OF APPEALABILITY;
        AND DENYING MOVANT’S MOTION FOR DISCOVERY AND EVIDENTIARY
                                HEARING [274]

         On June 22, 2010, a jury convicted Movant of five counts of healthcare

 fraud and one count of conspiracy to commit healthcare fraud, in violation of

 18 U.S.C. § 1347 and 18 U.S.C. § 1349, respectively. Movant filed several post-

 trial motions, alleging, inter alia, that his counsel had rendered ineffective

 assistance. On October 22, 2010, the Court issued an Order [Dkt. #180] denying

 Movant’s post-trial motions. On December 14, 2010, the Court sentenced Movant

 to nine years (108 months) of imprisonment. The Sixth Circuit affirmed Movant’s

 convictions and sentence on November 5, 2012. United States v. Smorynski, No.

 10-2681 (6th Cir. Nov. 5, 2012).



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       Movant filed a Motion to Vacate, Set Aside, or Correct Sentence [246] on

 August 15, 2014. On order of the Court, the government filed a Response [264] on

 December 4, 2014. Movant filed a Reply [272] on January 26, 2015, followed by

 an Amended Reply [273] on February 5, 2015. On June 24, 2015, Movant filed a

 Supplemental Brief [292]. On September 21, 2015, Movant filed a Second

 Supplemental Brief [296]. On March 2, 2016, Movant filed a Revised Appendix to

 his Amended Reply [303].

       On February 23, 2015, Movant filed a Motion for Discovery and Evidentiary

 Hearing [274]. On April 7, 2015, the government filed a Response [280] to

 Movant’s discovery motion. Movant filed a Reply [285] in support of his

 discovery motion on April 23, 2015.

       For the reasons stated below, Movant’s Motion to Vacate, Set Aside, or

 Correct Sentence [246] is DENIED. Movant is DENIED a certificate of

 appealability. Movant’s Motion for Discovery and Evidentiary Hearing [274] is

 also DENIED.

                              FACTUAL BACKGROUND

       Movant and his co-defendant Bernice Brown were convicted of carrying out

 Medicare fraud through Wayne County Therapeutic (WCT), of which Movant was

 the vice-president and Brown was the president. The government accurately

 summarized the evidence presented at trial as follows:
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       1. The Physical and Occupational Therapy Contractor Scheme
              A. Regulatory Framework
              The government called Kelly Hartung to testify about Medicare
       rules for billing for physical, occupational, and psychotherapy
       services. Tr. 57; see also Gov’t Tr. Exs. 1A-1F.3 She testified that
       Medicare pays for services provided to a Medicare beneficiary only
       by a person or clinic enrolled with Medicare. Tr. 63-64, 129. To enroll
       with Medicare as a provider of outpatient physical or occupational
       therapy, an occupational or physical therapist must be registered in the
       state. Tr. 135. Registered occupational therapists are called “OTRs”
       and registered physical therapists are called “RPTs.” Hartung testified
       that if an OTR or RPT does not perform or supervise the therapy,
       Medicare will not pay for the services. Tr. 103, 106-107. The whole
       point of the system is to ensure that a licensed and enrolled Medicare
       provider is either performing or directly supervising the therapy
       provided. Tr. 136.
              B. WCT Therapists
              During the period of the alleged conspiracy, October 2002 to
       September 2006, WCT employed a number of OTRs and RPTs who
       were enrolled with Medicare, among them Dana McDade (OTR),
       Desmond Rice (OTR), and Hamad Hamad (RPT). Tr. 264. McDade,
       Rice, and Hamad each had individual provider numbers with
       Medicare, under WCT’s group number. Tr. 75-77. McDade and Rice
       both testified at trial. Tr. 260-297, 576-664. McDade and Rice
       explained that WCT staff assisted in processing and submitting their
       claims to Medicare. Tr. 266-67, 513-516. Numerous witnesses,
       including McDade, Marc Riley (a biller), and Tamika Taylor
       (Smorynski’s assistant), testified that Smorynski oversaw WCT’s
       Medicare billing operations. Tr. 405, 516, 537-38, 770-72, 817, 1057-
       58, 1098-99.
              Hartung testified, and the supporting Medicare documents
       showed, that McDade, Rice, and Hamad each reassigned all of their
       benefits (e.g., payments) from Medicare to WCT. Tr. 74-77, 131, 267-
       69, 305, 584-85, 958; see also, e.g., Gov’t Tr. Ex 2C. WCT submitted
       bills to Medicare on behalf of McDade, Rice, and Hamad
       electronically, and Medicare paid the claims through direct deposit
       into WCT’s bank account. Numerous witnesses testified and
       documentation established that Brown controlled the WCT bank
       account. See, e.g., Gov’t Tr. Ex. 202A; Tr. 406, 694, 733, 741-42.
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       Therefore, payment for any “therapy” services provided by McDade,
       Rice, or Hamad went directly to Brown.
              Although McDade, Rice, and Hamad were registered therapists,
       McDade, Rice, and other WCT staff testified that the three therapists
       actually performed very little therapy at WCT. In fact, by 2005, the
       three performed almost no therapy themselves. Tr. 174. McDade and
       Rice each testified that Brown instructed them to simply “co-sign” the
       files of other people who were not licensed therapists and/or who
       were not enrolled with Medicare. Tr. 270, 272, 308, 604-09, 750-52.
       WCT then billed Medicare for the therapy as if McDade, Rice, and
       Hamad had performed the therapy themselves. Tr. 107, 420-21, 608-
       10, 739-42, 750.
              C. The Contractors
              Beginning in October 2002, WCT contracted with three
       companies, Universal Rehab Services, Inc. (Universal), M&M
       Management, Inc. (M&M), and Lords Physical Therapy and Rehab
       Services, Inc. (Lords) (collectively the Contractors). Gov’t Tr. Exs. 3-
       5. Brown signed the contracts on behalf of WCT. WCT entered into a
       contract with Lords in October 2002, with Universal in November
       2004, and with M&M in July 2005. Tr. 165-166, 407-10, 415, 588-94.
       Each of the Contractors employed one physical therapist and one
       occupational therapist. Of the six Contractor therapists, only half were
       licensed, and none were enrolled with Medicare. Tr. 160-61, 588,
       603-04.
              The Contractors operated in similar fashion. Pradeep Pillai, as
       well as a number of beneficiaries, testified about how the Contractors
       operated. They bribed patients to sign fictitious forms, indicating they
       had received physical or occupational therapy and created fictitious
       “initial evaluations,” “progress notes,” and “discharge summaries” to
       supposedly document the therapy. Tr. 162, 173, 177, 198-99. They
       used those forms to create patient charts that appeared to document
       therapy. Tr. 159, 162, 172-73, 213-14, 229, 239-241, 249-50.
              Paul Smith, Henderson Butler, and Norris Moore, Jr. testified
       about receiving cash kickbacks to sign forms indicating that they had
       received therapy, which never occurred. Tr. 213, 239-241, 249-250;
       see also Tr. 175. The government introduced photographs showing
       M&M’s owner paying cash to him for signing the fictitious forms. Tr.
       218, Gov’t Tr. Ex. 39.

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               Because none of the Contractors were enrolled with Medicare,
       they sold the fictitious therapy files to WCT. Pillai testified that
       Brown told him not to worry about not being enrolled with Medicare
       because she would have her staff sign the files. Tr. 159, 163-164, 194-
       95, 307, 523-25. Pillai testified that he was instructed not to sign any
       initial evaluations. Tr. 175.
               D. The Fraud
               Taylor and McDade testified that when WCT received the
       patient files and billing paperwork from the Contractors, the patient
       files was sent to WCT therapists and the billing paperwork went to the
       billing department. Tr. 417. With respect to the patient files, McDade,
       Rice, and Brown herself testified that Brown instructed McDade,
       Rice, and Hamad to “co-sign” the files, which meant that they signed
       each initial evaluation, progress note, and discharge summary. Tr.
       163-64, 167, 174-79, 271-72, 585-86, 596-604, 659, 798-99. Because
       the Contractors never signed the initial evaluations or discharge
       summaries, the WCT staff therapist’s signature was the only one on
       those documents. Tr. 174-79, 279-280, 739-41, 749-51. The files
       made it appear to any outside observer that the WCT staff therapist
       (McDade, Rice, or Hamad) had performed the initial evaluation and
       discharge summary for the patient. See Gov’t Tr. Exs. 9-15, 17, Tr.
       174, 298, 701-02, 732, 739-41, 749-51. Typically, Brown paid
       McDade, Rice, and Hamad $10 per signature. Tr. 270, 304, 308, 418-
       421, 588, 1140. McDade and Rice both testified that they never
       performed any work, and that their signatures signified nothing more
       than the $10 payment from Brown. Tr. 276, 283-284.
               Multiple witnesses testified that Brown and Smorynksi knew
       that Rice and Hamad only worked an hour or two every other week at
       WCT. See, e.g., Tr. 274-275, 418-419. They had full time jobs
       elsewhere. Tr. 262-63, 274-75, 418-419, 448, 580, 1043. Yet they
       signed for 200, 500, and at times, 1000, visits in a single session,
       which typically lasted less than an hour, and involved doing nothing
       more than signing paperwork to the point where their hands hurt. Tr.
       273-274, 417. Brown knew how many files they were signing because
       she was paying them per signature. Tr. 275. Rice testified that he told
       Brown that he was uncomfortable signing evaluation and discharges
       for patients who he had never seen or supervised. Tr. 274, 279. Brown
       told him to just keep signing the files. Tr. 279.

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              Smorynski also knew what the therapists were doing. Tr. 275-
       76, 282, 304-08, 418, 449. Taylor testified that Smorynski routinely
       witnessed both Rice and Hamad signing large stacks of files without
       even reviewing the pages. Tr. 418. Rice testified that Smorynski, upon
       seeing him signing a stack of files, told him that he had “the easiest
       job in the world.” Tr. 275-276. Special Agent Bartnik also testified
       that when he interviewed Smorynski, he admitted that WCT staff had
       done nothing to check to see if the therapy had been performed, let
       alone performed the therapy themselves. Tr. 308.
              In addition to the sheer volume of visits submitted by the
       Contractors, the dates of service reflected in the files made it
       impossible for McDade, Rice, or Hamad to supervise, let alone
       perform, the services. That is because, in many cases, the files were so
       “old” that the patient had purportedly been discharged months before
       WCT even received the file. Tr. 618-21. McDade, Rice, and Hamad
       could not have performed or supervised therapy that had long since
       occurred. Marc Riley testified that Brown and Smorynski were aware
       of the staleness of the files because Medicare often imposed a 10%
       payment penalty on WCT for very old claims. Tr. 516, 521.
       Smorynski authored a memorandum about this very problem. Gov’t
       Tr. Ex. 26.
              For all the therapy visits reflected in the files that the
       Contractors had sold to WCT, the witnesses uniformly testified that
       McDade, Rice, and Hamad never met the patient, never spoke to the
       patient over the phone, never spoke to the contractor therapist who
       had supposedly provided the service about the patient, and had no idea
       if the therapy had been performed at all. Tr. 174, 179, 216, 241-242,
       278, 282-283, 577. WCT therapists did not perform the services or
       supervise the services reflected in the Contractors’ files. Tr. 167, 175-
       176, 178, 180, 217-218, 241-242, 250, 283.
              Meanwhile, the billing paperwork was sent to WCT’s billing
       department, where it was used to submit claims to Medicare. Tr. 511-
       22. At the direction of Brown and under the guidance of Smorynski,
       the claims were submitted, under the provider numbers of McDade,
       Rice, and Hamad. Tr. 302-03, 511-22, 527, 608-10, 739-42. By
       causing the claims to be submitted to Medicare, Defendants
       represented that McDade, Rice, and Hamad had performed the
       services or supervised the services, when they knew that that was not
       true. Tr. 107, 750.
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               ...
       2. The Social Work Scheme
               Taylor, Renee Watson, and Riley testified that Brown
       restructured the entire WCT staff to begin performing psychotherapy
       or, as she termed it, “social work” for WCT patients after Medicare
       imposed a cap on physical and occupational therapy reimbursements
       in January 2006. Tr. 330-31, 356, 425-427, 529-30, 625-26, 719-20.
       Numerous internal WCT documents—many either handwritten or
       initialed by Brown herself—corroborated their testimony. See, e.g.,
       Gov’t Tr. Exs. 102-111. For a short time, WCT was forced to lay off
       some of its staff members and cut the salaries of several others. Tr.
       303, 425. Brown had authorized a contemporaneous memorandum
       warning, “All jobs were on the line because of the cap.” Tr. 1070.
               Taylor, Watson, and Riley testified that Brown told her staff
       that WCT’s current physical and occupational therapy clients must be
       “depressed” because they were not receiving as much therapy due to
       the cap. Tr. 334-35, 357-58, 367. The witnesses testified that
       Smorynski drafted petitions for the patients to sign, demanding repeal
       of the cap, and drafted letters to Congress, purportedly on behalf of
       the patients, also demanding repeal of the cap. Tr. 335, 339, 342-43,
       429, 432-35. Smorynski also drafted a script that WCT staff was
       supposed to read to patients over the phone regarding the cap, WCT’s
       lobbying effort, and the fact that WCT would bill Medicare for its
       lobbying efforts. Tr. 335-40, 343-46, 350, 354, 427-30, 432-34, 460,
       532-35.
               Taylor, Watson, and Riley testified that, at a meeting on
       February 13, 2006, Brown gave specific instructions to her staff on
       how to bill for their new work. Tr. 435. She distributed a
       memorandum and a sample billing sheet with precise instructions.
       Gov’t Tr. Exs. 103C-D; Tr. 350-351, 437. All patients were to be
       diagnosed with “depression.” Tr. 350-54, 357-39, 367, 437-38, 442,
       531-32. Brown wrote that “the only billable code for social work is
       311 for depression.” Gov’t Tr. Exs. 103C-D. Brown instructed the
       WCT staff that the initial telephone call, during which they were
       instructed to read from the script prepared by Smorynski, was to be
       billed using a code 90801, which stood for individual psychotherapy
       evaluation. Tr. 350-54, 357-59, 361-62, 367, 389, 437-430, 460, 532-
       35. All subsequent phone calls, time spent writing the letters to
       Congress, and other time spent on the process, should by billed using
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       a code 90806, which signified a 45-50 minute face-to-face
       psychotherapy session with the client. Tr. 350-354, 361-62, 437-40.
       But rather than face-to-face meetings, Brown instructed her staff to
       make only phone calls, and that “permission” from management was
       required to see a patient. Tr. 345-46, 349-353, 440.
               The persons Brown selected to actually perform the social work
       “evaluations” and “meetings” were a motley collection of billers,
       drivers, unlicensed and licensed occupational therapists, and
       administrative assistants. Tr. 430. Brown told those “social workers”
       that they were to create notes, but that the one licensed social worker
       on staff, Joanne Smith-Washington, would “co-sign” their notes. Tr.
       348-49, 359-63, 367-68, 440-441, 445-46, 756-57. Smith-Washington
       did not meet with or speak to the patients, or the persons supposedly
       performing the “therapy.” Tr. 349, 359-360, 363, 365, 398. Smith-
       Washington also did not supervise the persons supposedly performing
       “therapy.” Tr. 360. Watson testified that Brown informed her to leave
       the signature on the initial evaluation, which she had prepared, blank,
       so Smith-Washington could sign it, because otherwise Medicare
       would not pay. Tr. 360, 363. Brown directed Smith-Washington to
       sign all of the patient notes—making it look like Smith-Washington
       had performed the social work services. Tr. 348-49, 359-63, 367-68,
       440-41, 445-46, 756-57. All of the reimbursements from Medicare
       were paid into the WCT bank account, which Brown controlled. Tr.
       756.4
               Rita Perry and Bettye Everson, two Medicare beneficiaries,
       testified that they never received the services billed by WCT to
       Medicare on their behalf. Tr. 396-401, 487-494. Medicare actually
       sent a letter to Smorynski demanding an accounting. Tr. 759-62, 1057.
       But rather than come clean, Brown and Smorynski, knowing that
       Perry never received any therapy, submitted false paperwork to
       Medicare and actually “re-billed” Medicare for services supposedly
       provided to her. Tr. 759-62. Defendants’ own witness, Melyssa Byrd,
       admitted on cross-examination that she had no idea that WCT had
       billed Medicare for psychotherapy, and denied ever receiving such
       services from WCT. Tr. 856. Yet WCT billed Medicare fifteen times
       for psychotherapy “treatments” and maintained a false file to
       document such services. Gov’t Tr. Exs. 119-121.


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               MOTION FOR DISCOVERY AND EVIDENTIARY HEARING

       The Court may authorize a party to conduct discovery in support of a motion

 under 28 U.S.C. § 2255 for “good cause.” Rules Governing § 2255 Proceedings,

 Rule 6, 28 U.S.C.A. foll. § 2255. The good cause requirement bars “fishing

 expeditions based on a petitioner’s conclusory allegations.” Cornwell v.

 Bradshaw, 559 F.3d 398, 410 (6th Cir. 2009) (quoting Williams v. Bagley, 380

 F.3d 932, 974 (6th Cir. 2004)). The movant must “present[] specific allegations

 showing reason to believe that the facts, if fully developed, may lead the district

 court to believe that federal habeas relief is appropriate.” Id. (quoting Lott v.

 Coyle, 261 F.3d 594, 602 (6th Cir. 2001)).

       Movant has not shown good cause for the discovery he requests. He simply

 gestures to the arguments presented by the government in its Response and asserts

 that his requested discovery is necessary to rebut those arguments. His request

 appears to be a “fishing expedition” based on a conclusory allegation that the

 requested discovery would be helpful.

       Movant’s request for an evidentiary hearing likewise does not describe the

 evidence to be presented or explain the need for it. In requesting a hearing,

 Movant merely states his belief that he needs to appear personally in court to rebut

 the government’s arguments. For the reasons explained below, “the files and

 records of the case conclusively show that [Movant] is not entitled to relief.” Ross
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 v. United States, 339 F.3d 483, 490 (6th Cir. 2003). The Court therefore need not

 hold an evidentiary hearing. Id.

       Accordingly, Movant’s Motion for Discovery and Evidentiary Hearing [274]

 is denied.

              MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE

       To succeed on a motion to vacate, set aside, or correct sentence, a movant

 must allege “(1) an error of constitutional magnitude; (2) a sentence imposed

 outside the statutory limits; or (3) an error of fact or law that was so fundamental

 as to render the entire proceeding invalid.” Pough v. United States, 442 F.3d 959,

 964 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496-97 (6th

 Cir. 2003)). Movant alleges a violation of his constitutional right to the effective

 assistance of counsel. To establish ineffective assistance of counsel, Movant must

 show that his counsel rendered deficient performance and thereby prejudiced

 Movant’s defense so as to render the outcome of the proceedings unreliable. See

 Strickland v. Washington, 466 U.S. 668, 687 (1984). Movant raises many

 challenges to his counsel’s performance. None, however, meet the Strickland

 standard.

 I.    Failure to advance Movant’s interpretation of Medicare regulations

       Movant faults his counsel for failing to advance Movant’s interpretation of

 Medicare regulations. As Movant interprets the regulations, they permitted WCT
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 to bill Medicare for therapy not personally performed or directly supervised by its

 therapists, since its therapists were not in private practice and did not have

 individual provider numbers. Movant argues that his counsel should have

 advanced his interpretation in various ways, including presenting certain “critical

 exculpatory proofs,” proposing a jury instruction on the defense’s theory of the

 case, and retaining a Medicare expert to testify.

       On direct appeal, however, the Sixth Circuit rejected Movant’s

 interpretation, stating that “the regulations required WCT’s registered therapists to

 perform or directly supervise therapy that was billed to Medicare.” Accordingly,

 the Sixth Circuit held that evidence that Movant “knew that WCT’s therapists did

 not provide any services or supervision regarding some of the billings” and instead

 “merely signed the files that were prepared by other contractors” sufficed to

 support his convictions.

       Movant’s counsel did not render deficient performance or prejudice

 Movant’s defense by failing to advance an interpretation of Medicare regulations

 rejected by the Sixth Circuit.

 II.   Failure to move for a continuance

       On May 12, 2010, Movant made an oral motion to terminate his

 representation by attorney Lawrence Bunting. The same day, the Court granted the

 motion by oral order and entered an Order Appointing Federal Defender [87]. On
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 June 1, 2010, attorney Thomas Warshaw filed an appearance on Movant’s behalf

 and represented him at a motion hearing. During the hearing, the Court asked

 Warshaw if he needed anything to prepare for trial, which was scheduled to begin

 on June 8, 2010 (one week later). Warshaw responded that he did not need

 anything. Trial began one week later, as scheduled. Movant argues that Warshaw

 did not have adequate time to prepare for trial, and thus rendered ineffective

 assistance by failing to move for a continuance.

       “Not every restriction on counsel’s time or opportunity . . . to prepare for

 trial violates a defendant’s Sixth Amendment right to counsel.” Morris v. Slappy,

 461 U.S. 1, 11 (1983) (citing Chambers v. Maroney, 399 U.S. 42, 53–54 (1970)).

 Trial judges are afforded “a great deal of latitude in scheduling trials,” partly due to

 the difficulty of “assembling the witnesses, lawyers, and jurors at the same place at

 the same time.” Id. Accordingly, “only an unreasoning and arbitrary insistence

 upon expeditiousness in the face of a justifiable request for delay violates the right

 to the assistance of counsel.” Id. at 11–12 (quoting Ungar v. Sarafite, 376 U.S.

 575, 589 (1964)) (internal quotation marks omitted). Applying these principles,

 the Supreme Court found no constitutional violation where a defendant was

 assigned new counsel only six days before trial, relying on the fact that the

 defendant’s new counsel reviewed the files prepared by his predecessor, met with

 the defendant, and represented to the court that he was prepared for trial. Id. at 12.
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 Similarly, the Sixth Circuit has held that a trial court acted within its discretion by

 denying a motion for continuance filed by counsel who appeared only eight days

 before trial, since the defendant “made no specific showing of prejudice” and his

 new counsel “presumably had access to the fruits of [predecessor] counsel’s earlier

 preparation efforts.” United States v. Martin, 740 F.2d 1352, 1360–61 (6th Cir.

 1984).

        Movant has not explained how Warshaw was so hamstrung by his seven-day

 trial preparation period as to render a denial of a continuance, if he had requested

 one, “unreasoning and arbitrary.” Morris, 461 U.S. at 11. The Court concludes

 that Warshaw was afforded sufficient trial preparation time to safeguard Movant’s

 right to counsel.

 III.   Failure to successfully move for a bill of particulars

        Attorney Lawrence Bunting filed a Motion for Bill of Particulars [72] on

 Movant’s behalf on April 2, 2010. The government filed a Response [75] on April

 22, 2010. The Court held hearings on the motion on May 12, 2010, and June 1,

 2010. At the second hearing, Movant’s new counsel, Thomas Warshaw,

 represented that the government had provided sufficient evidence and notice to

 prepare Movant for trial. The Court accordingly denied the motion as moot. The

 Sixth Circuit did not address the denial of the motion on appeal. However, the

 Sixth Circuit noted co-defendant Brown’s argument that she lacked notice of what
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 “was being charged, including, what evidence, witnesses, and what the witnesses

 were going to testify to in court.” The Sixth Circuit found this “undeveloped”

 argument unpersuasive because “Brown was properly charged by indictment” and

 because there was “no indication that the prosecution withheld evidence from her.”

       Movant faults his counsel for failing to convince the Court to grant his

 motion for a bill of particulars. However, Movant was charged in the same

 indictment found by the Sixth Circuit to properly charge Brown. Movant provides

 no reason to believe that the government withheld evidence from him, particularly

 in light of the fact that the Sixth Circuit found no sign that it withheld evidence

 from Brown. Movant has made no showing that his counsel rendered deficient

 performance by conceding that a bill of particulars was not necessary, or that doing

 so prejudiced his defense.

 IV.   Failure to move for severance

       Multiple charges against the same defendant may be tried together if the

 charged offenses are of “similar character, or are based on the same act or

 transaction, or are connected with or constitute parts of a common scheme or

 plan.” United States v. Medlock, 792 F.3d 700, 711 (6th Cir. 2015) (quoting FED.

 R. CRIM. P. 8(a))). Charges against multiple defendants may be tried together if the

 defendants “are alleged to have participated in the same act or transaction, or in the

 same series of acts or transactions, constituting an offense or offenses.” Id.
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 (quoting FED. R. CRIM. P. 8(a)). “Under Rule 8(b), defendants who are indicted

 together, ordinarily should be tried together.” United States v. Gardiner, 463 F.3d

 445, 472 (6th Cir. 2006) (quoting United States v. Breinig, 70 F.3d 850, 852 (6th

 Cir. 1995)) (internal quotation marks and brackets omitted). A defendant moving

 to sever his trial from that of a co-defendant “must show compelling, specific, and

 actual prejudice from a court’s refusal to grant the motion to sever.” Id. (quoting

 United States v. Saadey, 393 F.3d 669, 678 (6th Cir. 2005)). The mere fact that the

 government has stronger evidence against the co-defendant than against the

 moving defendant, or that the moving defendant would have a greater chance of

 acquittal if tried separately, does not establish sufficient prejudice. Id. (citing

 United States v. Warner, 971 F.2d 1189, 1196 (6th Cir. 1992)).

       Movant faults his counsel for failing to move to sever Movant’s trial from

 co-defendant Brown’s trial. However, Movant and co-defendant Brown were

 properly tried together because they were accused of participating in the same

 fraudulent scheme, through the same company, in the same time period. Movant

 also faults his counsel for failing to move to sever the charges concerning

 fraudulent billing for occupational and physical therapy from the charges

 concerning fraudulent billing for psychotherapy. The offenses underlying these

 charges, however, were properly tried together because they constituted parts of a

 common scheme or plan. Moreover, Movant has identified no reason to believe
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 that counsel, if he moved for severance, could have convinced the Court that

 failing to grant the motion would result in compelling, specific, and actual

 prejudice. Thus, Movant has made no showing that his counsel’s failure to file a

 motion for severance constituted deficient performance or prejudiced his defense.

 V.    Failure to insist on thorough hearing of co-defendant’s motion
       to suppress

       Movant’s co-defendant Brown filed a Motion to Suppress [85] on April 27,

 2010. The government filed a Response [80] on May 6, 2010. The Court denied

 the motion at the conclusion of a hearing held on June 1, 2010. The Sixth Circuit

 affirmed the denial of the motion.

       Movant faults his counsel for failing “to have the Court hold a thorough

 hearing on all of the issues raised in Brown’s suppression motion.” Movant does

 not explain why he believes the Court’s consideration of the motion was

 insufficiently thorough. Nor does he identify cause to believe that a more thorough

 hearing would likely have resulted in the motion being granted. Movant has

 therefore failed to make a showing of deficient performance or prejudice.

 VI.   Failure to move for a ruling on the end date of the fraud

       In its case in chief, the government introduced evidence that postdated

 September 13, 2006—the date government officers searched WCT offices pursuant

 to a warrant. On June 15, 2010, government counsel raised objections, which the

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 Court sustained, on some defense evidence that postdated September 13, 2006.

 Movant believes that the Court applied a double standard in prohibiting the defense

 from admitting evidence that postdated September 13, 2006, while allowing the

 government to admit such evidence. He faults his counsel for failing to challenge

 this alleged double standard via motion for a ruling on “the end date of the fraud.”

       This argument appears to be based on a misconception. The Court did not

 exclude any evidence on June 15, 2010, on the grounds that the evidence postdated

 September 13, 2006, or postdated “the end date of the fraud.” It is true that the

 preparation of certain evidence after September 13, 2006, factored into the Court’s

 decision to exclude that evidence as inadmissible hearsay. The date established

 that the records were prepared after Movant and his co-defendant knew, as a result

 of the government search on that date, that they were at risk of prosecution—

 allowing government counsel to argue that the records were prepared in

 anticipation of prosecution rather than in the ordinary course of business, and thus

 did not fall under the business records exception to the hearsay rule. In sustaining

 the government’s hearsay objections, which relied in part on the timing of the

 search, the Court did not categorically prohibit the defense from admitting

 evidence postdating the search. The Court therefore did not apply a double

 standard by allowing the government to admit evidence postdating the search.


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 Movant has identified no legitimate grounds for the motion he argues counsel

 should have filed.

 VII. Failure to defend certain defense exhibits against government objections

       On June 15, 2010, the Court addressed the admissibility of numerous

 defense exhibits. Government counsel objected to some exhibits. Counsel for co-

 defendant Brown responded to the objections, but Movant’s counsel did not

 separately respond. The Court sustained the government’s objections to some of

 the exhibits.

       Movant faults his counsel for failing to defend the excluded exhibits. He

 does not explain how his counsel should have supplemented the responses from

 co-defendant Brown’s counsel. He has therefore failed to show deficient

 performance.

 VIII. Failure to challenge Agent Bartnik’s testimony about Movant’s out-of-
       court statements

       At trial, the government called Darren Bartnik, a special agent of the United

 States Department of Health and Human Services, to testify. Bartnik testified that

 he interviewed Movant while participating in the investigation of WCT’s fraud.

 He testified regarding several statements Movant made during this interview,

 including Movant’s alleged admission that he knew that only services provided or

 directly supervised by a licensed therapist met Medicare’s billing requirements.

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 Movant faults his counsel for failing to challenge testimony concerning this

 statement, among others. Movant claims the testimony was false and constituted

 hearsay.

       Movant’s counsel did challenge this testimony; when government counsel

 first asked Bartnik what Movant said about his responsibilities at WCT, Movant’s

 counsel raised a hearsay objection. Government counsel responded that Movant’s

 out-of-court statements were admissible as “party admissions.” See Fed. R. Evid.

 801(d)(2) (providing that a statement offered against an opposing party and made

 by that party in an individual or representative capacity is not hearsay). The Court

 overruled the hearsay objection raised by Movant’s counsel.

       Movant has not identified any viable grounds for excluding this testimony,

 and has therefore failed to show that his counsel’s failure to successfully challenge

 the testimony rendered his performance deficient or prejudiced Movant’s defense.

 IX.   Failure to introduce McDade memoranda

       Movant faults his counsel for failing to introduce into evidence multiple

 memoranda written by Dana McDade, purportedly showing that she directed the

 fraud. Movant emphasizes that many of the memoranda do not state that copies

 were delivered to Movant, arguing that the memoranda thus show that he was

 unaware of McDade’s fraudulent activities. However, the fact that the memoranda

 do not explicitly indicate that they were provided to Movant does not prove that
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 Movant did not see the memoranda. More importantly, even if Movant did not see

 the memoranda, he could be aware of the facts discussed in them. There was

 sufficient evidence at trial to prove that Movant was aware of and participated in

 the fraud. Movant has not explained how these memoranda contradict that

 evidence. Thus, Movant has not shown that omission of these memoranda

 rendered counsel’s performance deficient or prejudiced his defense.

 X.    Failure to secure presence of certain witnesses

       Movant faults his counsel for failing to “check to make sure that Defense

 witnesses were properly subpoenaed” and for failing to move for a continuance

 when it became known that certain witnesses would not appear for trial. Movant

 says nothing about the witnesses and their potential testimony, aside from

 mentioning that Margaret Rider was a “senior biller” and that Doris Johnson was

 involved in “file and billing preparation.” Even assuming that these witnesses

 would have appeared at trial absent counsel’s deficient performance, Movant’s

 failure to explain how these witnesses would have bolstered his defense precludes

 him from showing prejudice.

 XI.   Failure to make adequate opening statement

       Movant faults his counsel for making an inadequate opening statement, and

 for declining to make any opening statement at all until Movant insisted that he do

 so after the close of the government’s evidence. “[T]he decision to forgo an
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 opening statement entirely is ordinarily a mere matter of trial tactics and will not

 constitute a claim of ineffective assistance of counsel.” Jackson v. Houk, 687 F.3d

 723, 741 (6th Cir. 2012) (quoting Millender v. Adams, 376 F.3d 520, 525 (6th Cir.

 2004)) (internal quotation marks and ellipses omitted). Movant provides no reason

 to believe that his counsel’s decision to forego an opening statement did not fall

 within this general rule.

 XII. Failure to make adequate closing statement

       Movant faults his counsel for failing to clarify, in his closing statement, that

 Movant was neither the “head biller” nor a Medicare expert. But Movant’s

 counsel did challenge the government’s characterization of Movant as the head

 biller in his closing argument: counsel noted that no witness described Movant as

 the head biller and faulted the government for relying on a single memorandum out

 of thousands that were likely exchanged by WCT employees. Counsel also argued

 that Movant played no real role in WCT’s affairs. Movant does not explain why

 his counsel needed to present further argument concerning Movant’s lack of

 involvement in billing. Nor does he explain the need to emphasize Movant’s lack

 of expertise in Medicare regulations; the billing violations at issue were not so

 complex as to be unrecognizable without expertise. Accordingly, Movant has not

 shown that these omissions from closing argument rendered counsel’s performance

 deficient or prejudiced Movant’s defense.
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 XIII. Failure to object to jury instruction on deliberate ignorance

       Movant faults his counsel for failing to object to the manner in which the

 Court instructed the jury on deliberate ignorance. Co-defendant Brown challenged

 the propriety of the Court’s instruction on direct appeal. The Sixth Circuit held

 that the Court “acted within its discretion by giving an instruction that closely

 tracks Sixth Circuit Pattern Jury Instruction 2.09.” Movant therefore cannot show

 that his counsel’s failure to object to the instruction rendered his performance

 deficient or prejudiced Movant’s defense.

 XIV. Failure to propose additional jury instructions

       Movant faults his counsel for failing to propose jury instructions in addition

 to those the Court delivered. Movant identifies several Sixth Circuit Pattern Jury

 Instructions that he believes competent counsel would have proposed. He offers

 no argument regarding most of the additional instructions, which the Court will

 therefore not address.

       Movant only attempts to develop an argument concerning pattern jury

 instructions 7.03 and 7.03A, which advise jurors that they need not accept a

 witness’s opinion and that they should consider “the witness’s qualifications and

 how he reached his conclusions” in evaluating the weight to give opinion

 testimony. However, Movant identifies no opinion testimony that likely

 influenced the jury’s verdict. Nor does he attempt to explain why the jurors may
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 have weighed that testimony differently—so as to undermine confidence in the

 verdict—if they had been differently instructed. The Court instructed the jurors

 that they could disbelieve any testimony provided by a witness. The Court further

 instructed them that they should use common sense in determining what additional

 factors to consider when evaluating a witness’s testimony. Even assuming that

 Movant’s counsel rendered deficient performance by failing to propose additional

 instructions similar to pattern jury instructions 7.03 and 7.03A, Movant has made

 no plausible claim of prejudice.

 XV. Cumulative effect of errors

       Errors that are insufficiently prejudicial, when considered in isolation, to

 violate a defendant’s rights “may cumulatively produce a trial setting that is

 fundamentally unfair.” United States v. Dado, 759 F.3d 550, 563 (6th Cir. 2014)

 (quoting United States v. Hughes, 505 F.3d 578, 597 (6th Cir. 2007)). Thus,

 “examining an ineffective assistance of counsel claim requires the court to consider

 ‘the combined effect of all acts of counsel found to be constitutionally deficient, in

 light of the totality of the evidence in the case.’” Id. (quoting Lundgren v.

 Mitchell, 440 F.3d 754, 770 (6th Cir. 2006)).

       As explained above, Movant has failed to show that the majority of his

 counsel’s alleged errors constituted deficient performance. The Court has declined

 to rule on the deficient performance issue with respect to certain alleged errors,
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 including counsel’s failure to secure the presence of certain witnesses and to

 propose Sixth Circuit pattern jury instructions on opinion testimony. Even

 assuming that these alleged errors constituted deficient performance, their

 cumulative effect does not undermine the Court’s confidence in the verdict, in light

 of the totality of the evidence in the case.

                                      CONCLUSION

       For the reasons stated above, the Court concludes that neither discovery nor

 an evidentiary hearing is necessary to reject Movant’s claim that his constitutional

 right to the effective assistance of counsel was violated. For the same reasons, the

 Court concludes that Movant has failed to make a substantial showing of the denial

 of a constitutional right. Thus, the Court will deny Movant a certificate of

 appealability. See Tennard v. Dretke, 542 U.S. 274, 282 (2004) (citing 28 U.S.C.

 § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 484 (2000)). Accordingly,

       IT IS ORDERED that Movant’s Motion to Vacate, Set Aside, or Correct

 Sentence [246] is DENIED. Movant is DENIED a certificate of appealability.

       IT IS FURTHER ORDERED that Movant’s Motion for Discovery and

 Evidentiary Hearing [274] is DENIED.

       SO ORDERED.

                                          s/Arthur J. Tarnow
                                          Arthur J. Tarnow
 Dated: May 20, 2016                      Senior United States District Judge
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